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 1
 2                                 UNITED STATES DISTRICT COURT
 3                                        DISTRICT OF NEVADA
 4
 5    UNITED STATES OF AMERICA,                                     Case No. 2:13-cr-239-JAD-PAL
 6                    Plaintiff,
 7     v.                                                              Order Denying Motion to
                                                                       Stay Sentence [Doc. 238]
 8    Robert Morrow,
 9                    Defendant.
10
11           Robert Morrow pled to conspiracy to possess with intent to distribute 500 grams of cocaine,

12   Doc. 139, 141, and on April 28, 2014, I sentenced him to 5 years in federal prison. Doc. 175. As he

13   remained at liberty and on bond, I ordered him to self surrender to the Bureau of Prisons-designated

14   facility on July 24, 2014. Doc. 170. In June, I granted his request to extend his self-surrender date to

15   August because a magistrate judge recommended that a separate but somewhat related case against

16   his co-defendant, Jeremy Halgat, be dismissed based on government misconduct,1 and Morrow

17   wanted time to consider whether he may benefit from that decision and was uncertain whether he

18   remained represented by counsel. Docs. 194, 202, 220, 222. I conducted a hearing on September 22,

19   2014, on Morrow’s request for a third extension, concluded that Morrow remained represented by

20   his court-appointed counsel, and extended his surrender date one last time to October 29, 2014, to

21   allow Morrow to consult with his attorney and make any appropriate motions. Docs. 225, 228.

22          Morrow now requests that I give him a fourth extension “so that he can see what the outcome

23   of the [motion to dismiss filed by his co-defendants] is.” Doc. 238. I do not find that this reason falls

24   under any of the very limited circumstances in which 18 U.S.C. § 3143 authorizes me to continue to

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26           1
              Beginning in April, Halgat and Morrow’s other co-defendant McCall filed motions to
     dismiss the instant case based on allegedly outrageous government conduct, and a hearing on those
27   motions is scheduled for early November. Docs. 188, 205, 230.
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 1   stay the execution of Morrow’s sentence or otherwise justifies a stay of his sentence. Accordingly, I
 2   deny Morrow’s motion; his surrender date remains October 29, 2014.
 3                                                     Discussion
 4        Under 18 U.S.C. § 3143, I am authorized to stay a sentence under a very limited set of
 5   circumstances. For example, under 18 U.S.C. § 3143(a), I could stay Morrow’s sentence if he had
 6   shown that, among other things,“there is a substantial likelihood that a motion for acquittal or new
 7   trial will be granted” or that “an attorney for the government has recommended that no sentence of
 8   imprisonment be imposed on [him].” Under 18 U.S.C. § 3143(b), I could stay his sentence if he had
 9   demonstrated that he filed an appeal that “is not for the purpose of delay and raises a substantial
10   question of law or fact likely to result in reversal, an order for a new trial, a sentence that does not
11   include a term of imprisonment, or a reduced sentence to a term of imprisonment less than the total
12   of the time already served plus the expected duration of the appeal process.” And 18 U.S.C. §
13   3143(c) authorizes me to stay his sentence if the government had itself entered an appeal in this case.
14        Morrow does not cite any of these bases in his motion and it does not appear from the record
15   that any applies; indeed, he does not even mention the appropriate statute. He merely requests relief
16   “so that he can see what the outcome of the [motion to dismiss filed by his non-pleading co-
17   defendants] is”2— a motion that he has in no way demonstrated that he could potentially benefit
18   from. Halgat and McCall occupy a very different procedural posture than Morrow: neither has pled,
19   and both have filed yet-unresolved motions to dismiss the indictment based on the facts as they
20   contend apply to them individually.3 Morrow pled to a charge in a superseding information, was
21   adjudicated guilty and sentenced, and has waived virtually all of his appellate rights. Docs. 137, 139.
22   Although I extended his surrender date because there was some confusion about whether Morrow
23   was represented by counsel and I felt that justice compelled me to permit him some time to consult
24   with his attorney, that time has now passed to no avail: Morrow has not demonstrated his entitlement
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            2
                Doc. 238.
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             In no way do I intend to imply by this order my belief or disbelief in the merits of the
27   pending motions to dismiss.
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 1   to a stay of the execution of his sentence.
 2        Any further extension of Morrow’s self-surrender date would be a stay of the execution of his
 3   sentence, Morrow has not demonstrated his entitlement to a stay based on any authority, and I
 4   independently find no justification under the law to afford one. Accordingly, I deny Morrow’s
 5   motion. He must turn himself in, as I previously ordered, on October 29, 2014.
 6                                                   Conclusion
 7        It is HEREBY ORDERED that Morrow’s Motion to Extend Turn-In Date (Doc. 238) is
 8   Denied. He must self-surrender by noon on October 29, 2014.
 9        Dated: October 21, 2014
10                                                 ______________________
                                                   Jennifer A. Dorsey
11                                                 United States District Judge
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